IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
AMANDA CONKLIN, )
)
Plaintiff, ) No. 3:14-cv-01069
)
v. ) Judge Nixon
) Magistrate Judge Bryant
AMERICAN NATIONAL )
PROCESSING, INC., ) JURY DEMAND
)
Defendant. )

ORDER
Pending before this Court is the parties’ Stipulation of Disrnissal, in Which the parties
state that all matters in controversy have been settled and request dismissal of this matter. (Doc.
No. l9.) Accordingly, pursuant to Federal Rule of Civil Procedure 4l(a)(l)(A)(ii), this action is
DISMISSED with prejudice. The Court DIRECTS the Clerk of the Court to close this case.

lt is so ORDERED.

Entered this the J% day ot{£:h{ 2015.
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JOHN T. NIXON, SENIOR JUDClE
UNITED STATES DISTRICT COURT

 

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